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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

               Plaintiff,

          v.                                      Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC., et al.

               Defendants.


                 DEFENDANT U.S. ANESTHESIA PARTNERS, INC.’S
                  MOTION FOR LEAVE TO AMEND ITS ANSWER
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                                        INTRODUCTION

       In September 2023, the FTC initiated this antitrust enforcement action against U.S.

Anesthesia Partners, Inc. (“USAP”). In a sprawling ten-count Complaint spanning 416

paragraphs, the FTC alleged conduct going back more than a decade. In particular, the FTC

alleged that USAP obtained an unlawful monopoly based on a hodgepodge of years-old conduct,

including that USAP “acquired” anesthesia practices across Texas from 2013 to 2020. See

Compl. ¶¶ 4, 103-173, Dkt. No. 1. The FTC’s Complaint did not define the term “acquired” as

used in those allegations. In its detailed 85-page Answer, USAP understood the word “acquired”

to cover USAP’s hiring of former employees of other practices and on that basis admitted that it

“acquired” two practices in 2016 – BMW Physicians (also referred to as BMW Anesthesiology)

and Medical City Physicians.

       In March 2025, the FTC served requests for admission asking USAP to admit that it

“acquired” BMW Physicians and Medical City Physicians. In those requests, the FTC defined

the term “acquired,” and the definition was narrower than what USAP understood to provide its

Answer: it covered “transactions,” such as a merger and acquisition of stock and assets, but not

simply hiring the former employees of an entity. Based on that definition, USAP denied that it

had “acquired” the practices and explained the basis for its denial. But the FTC then turned

around and accused USAP of providing deficient responses at odds with its Answer.

       Accordingly, USAP seeks leave to amend its Answer to make modest changes in just two

paragraphs (out of more than 400). This amendment will clarify the record and resolve any

supposed conflict (of the FTC’s own making) between USAP’s Answer and its discovery

responses. USAP has good cause to amend: USAP had no reason to revise its Answer until the

FTC objected to its discovery responses; the proposed amendment is important because hiring

another firm’s talent is per se legal under the antitrust laws; and there is no prejudice to the FTC,

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as USAP produced closing documents for the challenged transactions before the FTC filed suit

and USAP explained the bounds of the challenged transactions in responses to the FTC’s

discovery requests. Nor would amendment require any changes to the rest of the case schedule.

The Court should grant USAP leave to file its amended Answer.

                                        BACKGROUND

       Two paragraphs of the FTC’s Complaint and USAP’s Answer – which concern USAP’s

alleged “acquisition” of BMW Physicians and Medical City Physicians – are at issue here. First,

in Paragraph 138 of the Complaint the FTC alleged:

       Having acquired all the groups on their 2014 “wish list,” USAP and Welsh Carson
       shifted their focus to smaller groups in Dallas that had exclusive contracts or established
       relationships with facilities or health systems. Over five months from December 2015 to
       April 2016, USAP acquired four additional groups in Dallas: Southwest Anesthesia
       Associates, BMW Anesthesiology, Medical City Physicians, and Sundance Anesthesia.

Compl. ¶ 138, Dkt. No. 1 (emphasis added). Because USAP understood the term “acquired” –

which is not defined in the Complaint – to encompass hiring employees formerly affiliated with

another practice, USAP answered, in relevant part, that “USAP admits the allegations set forth in

the second sentence of Paragraph 138.” Answer ¶ 138, Dkt. No. 157. Second, in Paragraph 141

of the Complaint the FTC alleged:

       Next, in January 2016, USAP acquired BMW Anesthesiology and unaffiliated
       anesthesiologists referred to as the Medical City Physicians. USAP purchased BMW, a
       group of 9 anesthesiologists for $[redacted]. USAP acquired the Medical City Physicians,
       a group of 7 anesthesiologists for $[redacted].

Compl. ¶ 141, Dkt. No. 1 (emphasis added). Here, too, USAP admitted the allegation based on

its understanding of the term “acquired.” Answer ¶ 141, Dkt. No. 157.

       On March 7, 2025, the FTC served its First Set of Requests For Admission consisting of

97 requests. See Ex. A. In those requests, the FTC defined “Acquired,” stating that it meant

“any transaction, including, but not limited to, a merger, acquisition (including asset purchases or


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acquisitions of voting stock or other equity), affiliation, consolidation, investment, joint venture,

license, partnership, sale, or other transaction by or on behalf of the Company and a third party.”

Id. at 2. Based on that definition, the FTC asked USAP in Request For Admission No. 39 to

“[a]dmit that before it was Acquired by USAP, BMW Physicians provided Anesthesia Services

in Dallas.” Id. at 9. Request For Admission No. 40 asked for the same admission as to Medical

City Physicians. Id.

        USAP served Objections and Responses on April 16. See Ex. B. In light of the FTC’s

definition of “Acquired,” USAP denied in part and admitted in part Request For Admission No.

39, stating:

        USAP denies that it acquired BMW Physicians, but admits that USAP Texas hired, as
        new employees, personnel formerly affiliated with BMW Physicians. USAP admits that,
        prior to being hired as new employees, personnel formerly affiliated with BMW
        Physicians provided Anesthesia Services in Dallas.

Id. at 25. USAP provided the same response to Request For Admission No. 40. Id. at 26. Those

responses fairly responded to the substance of the FTC’s question and admitted the substantive

point the FTC was seeking – that BMW Physicians and Medical City Physicians had “provided

Anesthesia Services in Dallas” – but made clear that these entities were not “[a]cquired” as the

FTC defined the term.

        On April 30, 2025, the FTC complained that USAP’s responses were “evasive” and

“contradict[ed]” its Answer, which the FTC said had admitted that USAP “acquired” these

practices. See Ex. C at 2. On May 28, USAP served amended Objections and Responses to the

FTC’s First Set of Requests For Admission. See Ex. D. USAP amended its responses to

Requests For Admission Nos. 39 and 40, adding a further clarification to explain that it denied

having “acquired” BMW Physicians and Medical City Physicians insofar as the FTC defined




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“the term ‘acquire’ to mean that a former practice was subject to a merger, an asset purchase, or

an acquisition of stock or other equity.” Id. at 22-23.

       In an accompanying cover letter also sent on May 28, USAP explained to the FTC that its

responses to Requests For Admission Nos. 39 and 40 reflected the “distinction between a

company’s growth through mergers, asset purchases, or acquisition of stock or other equity, on

the one hand, and its growth through the hiring . . . of new employees, on the other.” Ex. E at 2.

USAP also noted that it had made clear during the FTC’s pre-complaint investigation how “new

employees have joined USAP Texas,” including by producing “the closing binders related to all

of the transactions.” Id.

       Because the FTC had taken the position that USAP’s partial denial of these requests

“contradict[s]” its Answer, USAP also informed the FTC that, “to avoid any confusion,” USAP

wished to amend its Answer to make clear that under the FTC’s new definition of the term

“acquire,” USAP did not “acquire” BMW Physicians or Medical City Physicians. Id. The FTC

responded on June 3 that it would oppose USAP’s proposed amendment. See Ex. F.

       USAP’s proposed Amended Answer would change nothing other than its responses to

Paragraphs 138 and 141. The changes in those paragraphs would be:

       138. Paragraph 138 is predicated on an undefined methodology to assess practice
       group size that USAP lacks sufficient information to admit or deny. USAP admits that
       evidence produced in the FTC’s investigation of this matter includes the quoted language
       in the first sentence of Paragraph 138, but respectfully directs the Court to that evidence
       for an accurate and complete statement of its contents. USAP lacks sufficient
       information to admit or deny the actions of Welsh Carson alleged in the first sentence of
       Paragraph 138. USAP admits the allegations set forth in the second sentence of
       Paragraph 138. As to the second sentence of Paragraph 138, USAP admits the
       allegations pertaining to Southwest Anesthesia Associates and Sundance Anesthesia.
       USAP interprets “BMW Anesthesiology” as referencing “BMW Physicians.” USAP
       denies that it acquired BMW Physicians or Medical City Physicians and incorporates by
       reference its response to Paragraph 141 below. USAP otherwise denies Paragraph 138.

       141. USAP admits Paragraph 141. USAP interprets “BMW Anesthesiology” as
       referencing “BMW Physicians.” USAP objects to Paragraph 141 as vague and

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       ambiguous insofar as it uses the undefined term “acquire,” and will interpret that term to
       mean that a former practice was subject to a merger, an asset purchase, or an acquisition
       of stock or other equity. USAP therefore denies that it acquired BMW Physicians or
       Medical City Physicians, but admits that USAP (as defined in the Complaint at 11 n.1)
       hired as new employees personnel formerly affiliated with BMW Physicians and Medical
       City Physicians, and that in connection with the hiring of these new employees, cash and
       stock payments in the referenced amounts were made.

Ex. G at 30-31 (proposed additions underlined; deletions in strikethrough).

                                      LEGAL STANDARD

       An answer may be amended either with the opposing party’s consent or with “the court’s

leave,” which the Court “should freely give . . . when justice so requires.” Fed. R. Civ. P.

15(a)(2). If a party seeks to amend its answer after the deadline for amendment of pleadings set

out in a scheduling order, the movant must first show “good cause” to amend the scheduling

order under Rule 16(b)(4). Vanzzini v. Action Meat Distribs., Inc., 995 F. Supp. 2d 703, 712

(S.D. Tex. 2014) (granting leave to amend answer). “Once good cause under Rule 16(b) has

been shown,” courts apply Rule 15 and “should freely give leave when justice so requires.” Id.

                                          ARGUMENT

       No scheduling order in this case ever set a deadline for amendment of pleadings. See

Scheduling Orders, Dkt. Nos. 143, 173, 266. Accordingly, the Rule 15(a)(2) standard applies

here, and the Court “should freely give leave” to amend. See, e.g., Miranda v. Tex. Lloyds

Allstate, 2019 WL 6208563, at *3 (S.D. Tex. Nov. 21, 2019) (granting leave to amend answer

under Rule 15 where the “scheduling order did not explicitly set a deadline for parties to file a

Rule 15(a) motion”); Campania Mgmt. Co. v. Rooks, Pitts & Poust, 290 F.3d 843, 849 n.1 (7th

Cir. 2002) (analyzing amendment “under the rubric of Rule 15” because the scheduling order

“failed to delineate a deadline for amending the pleadings”); Nagel v. DFL Pizza, LLC, 2024 WL

5095298, at *2 (D. Colo. Dec. 4, 2024) (collecting cases).



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         Even assuming arguendo that the Rule 16(b)(4) “good cause” standard applies, however,

there is ample good cause to allow USAP’s proposed amendment.

I.       Good Cause Exists For USAP To Amend Its Answer

         To determine whether good cause exists, courts consider four factors: “(1) the

explanation for the failure to timely move for leave to amend; (2) the importance of the

amendment; (3) potential prejudice in allowing the amendment; and (4) the availability of a

continuance to cure such prejudice.” Vanzzini, 995 F. Supp. 2d at 712 (cleaned up). All four

factors establish good cause for USAP’s amendment.

         First, there is good reason why USAP is amending now and not earlier in the case: no

clarification was needed earlier, because there was no confusion over the meaning of the term

“acquired” until recently in connection with the requests for admission, where the FTC

complained about a discrepancy of its own making. Courts routinely find good cause and

appropriate timing when an amendment is “made for the purposes of clarifying” the record,

Trevino v. Transportadora Egoba SA de CV, 2024 WL 4987041, at *1 (S.D. Tex. Mar. 12,

2024), including to resolve “an apparent conflict” between the defendant’s “answer and its

response to certain requests for admission during discovery,” Silgan Container Mfg. Corp. v.

MVFM Cargo Los Internacional Ltda, 2012 WL 13060081, at *2 (S.D. Tex. Nov. 21, 2012). 1

USAP’s proposed amendment conforms its Answer to the record and resolves what the FTC




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          Courts in other districts agree. See, e.g., Snelling Emp., LLC v. Doc Johnson Enters.,
2019 WL 13516553, at *1 (N.D. Tex. Jan. 25, 2019) (finding good cause for amendment that
“clarifies what was already alleged in [the] original answer” based on discovery); Laurent v.
JPMorgan Chase, N.A., 2014 WL 3734293, at *1 (D. Nev. July 29, 2014) (finding good cause to
amend two paragraphs of the answer “to clarify Defendant’s true position”); El-Hajj v. Fortis
Benefits Ins. Co., 156 F. Supp. 2d 27, 34 (D. Me. 2001) (defendant had good cause to amend its
answer “to clarify a factual detail of the case”).

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asserts is a conflict between its Answer and its responses to the FTC’s Request For Admissions –

a conflict created by the FTC’s definition of “acquired.”

       The FTC used the term “acquired” 73 times in its Complaint without ever defining it. It

did not serve its First Set of Requests For Admission specifically defining the term until March

7, 2025. And it was not until April 30 that the FTC objected to USAP’s responses to Request

For Admission Nos. 39 and 40 as “improper” because they supposedly “contradict” its Answer.

Ex. C at 1-2. USAP promptly amended its discovery responses and now seeks to amend its

Answer to clarify that it did not “acquire” BMW Physicians and Medical City Physicians (as the

FTC defines the term) and to ensure that its Answer conforms to its discovery responses. See

Exs. D, E. USAP had no way to know earlier in the litigation that the FTC would raise

complaints about USAP’s Answer based on its discovery responses in the final days of fact

discovery. See Vanzzini, 995 F. Supp. 2d at 712 (good cause exists “if the deadlines cannot

reasonably be met despite . . . diligence”); Triple-I Corp. v. Hudson Assocs. Consulting, Inc.,

2008 WL 338993, at *3 (D. Kan. Feb. 5, 2008) (finding good cause to amend answer where the

“underlying events” giving rise to the amendment “occurred after the deadline expired”). 2

       Second, the proposed amendment is important. The FTC’s theory is that USAP’s

“acquisitions of BMW Anesthesiology and Medical City Physicians[] are part of its unlawful

scheme to monopolize the Dallas MSA.” Ex. H at 32. But there is a meaningful difference

between a company growing by buying another firm and growing by hiring new employees from

another firm: “hiring talent cannot generally be held exclusionary even if it does weaken actual



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         Even if USAP did not have a “particularly persuasive” explanation for the timing of its
motion to amend (it does), the Court should still grant leave based on “the balance of the other
factors.” Vanzzini, 995 F. Supp. 2d at 713; see I&I Hair Corp. v. Beauty Plus Trading Co., 2022
WL 22867440, at *2 (N.D. Tex. June 1, 2022) (finding the “tardiness of Defendants’ Motion
should not be dispositive” and granting leave to amend answer).

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or potential rivals and strengthen a monopolist” and so “merely seeking out the services of [a

competitor’s] employees is not predatory.” Taylor Publ’g Co. v. Jostens, Inc., 216 F.3d 465, 479

(5th Cir. 2000); Doctors Hosp. of Laredo v. Cigarroa, --- F. Supp. 3d ---, 2025 WL 1513443, at

*31 (W.D. Tex. Jan. 28, 2025) (dismissing antitrust claims on summary judgment where medical

clinic hired rivals’ staff based on “legitimate business need”). USAP’s proposed amendment

seeks to draw that important difference by clarifying that USAP hired employees formerly

affiliated with BMW Physicians or Medical City Physicians without purchasing the businesses

themselves. If not allowed to amend, the FTC may try to misrepresent this hiring as acquisitions.

See D. Reynolds Co. v. AGCS Marine Ins. Co., 2025 WL 1355156, at *2 (N.D. Tex. Mar. 5,

2025) (finding good cause because “[i]f not allowed to amend,” defendant would “be prevented

from asserting a potentially applicable . . . defense”).

       Third, there is no prejudice here “because both parties are aware of the activities . . . that

are to be asserted in the amended answer.” Id. Before the FTC filed suit in 2023, USAP

disclosed the ways in which new employees have joined USAP Texas and produced documents

relating to the challenged “acquisitions,” including for BMW Physicians and Medical City

Physicians. Indeed, the FTC knew that USAP’s Answer did not stand for the proposition that

USAP “acquired” these practices under the definition it has set forth; otherwise, it would not

have followed up with separate requests for admission. The FTC therefore will suffer no

prejudice from USAP amending its Answer to clarify facts the FTC has known (or at least should

have known) for years. See Lockett v. Gen. Fin. Loan Co. of Downtown, 623 F.2d 1128, 1131

(5th Cir. 1980) (finding no prejudice where party opposing amendment already knew the

proposed factual allegations); Snelling Emp., LLC v. Doc Johnson Enters., 2019 WL 13516553,




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at *1 (N.D. Tex. Jan. 25, 2019) (no prejudice where amendment “clarifie[d] what was already

alleged in its original answer”).

       Fourth, “[a] continuance is unnecessary because no prejudice exists.” Bates v. Brewer,

Brewer, Anthony & Middlebrook, 2003 WL 23407497, at *2 (N.D. Tex. July 15, 2003). A

continuance would also serve no purpose: during the FTC’s pre-complaint investigation, USAP

produced documents showing that USAP Texas did not purchase BMW Physicians and Medical

City Physicians but instead hired former employees and provided the same explanation in

responding to the FTC’s Requests For Admission. See Mackey v. Bank of Am., N.A., 2020 WL

4903885, at *3 (S.D. Tex. Aug. 20, 2020).

       In sum, viewing all “four factors holistically,” good cause exists to allow USAP to amend

its Answer. Harrison v. Wells Fargo Bank, N.A., 2016 WL 3612124, at *2 (N.D. Tex. July 6,

2016) (granting leave to amend answer where three of four factors favored amendment).

II.    Leave To Amend Should Be Granted

       Under Rule 15(a), “leave ‘should be granted absent some justification for refusal.’”

Vanzzini, Inc., 995 F. Supp. 2d at 712 (citation omitted). Thus, the Court should grant leave to

amend “unless there is undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed or undue prejudice to the

opposing party.” Id. at 712-13 (cleaned up).

       There is no justification to deny USAP leave to amend. USAP has not previously

amended its Answer. USAP did not unduly delay this motion: USAP could not have known that

there was disagreement over the meaning of “acquired” that required amending its Answer until

the FTC’s April 30 letter, and, after working in good faith to resolve the issue with the FTC, it

filed this motion within three weeks after the FTC refused to consent to an amendment (which



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would have obviated the need for a motion). USAP now seeks to amend just two paragraphs

from its Answer to conform with its discovery responses in order to prevent confusion later in

the case. And allowing USAP to clarify two paragraphs will not unduly prejudice the FTC.

Indeed, “granting leave serves the interests of justice by allowing the Court to adjudicate the

parties’ claims fully informed of the relevant facts.” Snelling, 2019 WL 13516553, at *2; see

Jones v. Louisiana, 764 F.2d 1183, 1185 (5th Cir. 1985) (the federal rules “permit liberal

amendment to facilitate determination of claims on the merits”).

                                         CONCLUSION

       The Court should grant USAP leave to amend its Answer.



Dated: June 20, 2025                             Respectfully submitted,

                                                 /s/ Mark C. Hansen
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that on May 28 and June 3, 2025, the undersigned counsel for USAP in

good faith conferred via email with Michael Arin, counsel for the FTC, concerning the relief

requested in this Motion For Leave To Amend. The FTC opposes this Motion For Leave to

Amend and the relief sought herein.


Dated: June 20, 2025                           /s/ Rebecca A. Beynon
                                               Rebecca A. Beynon




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2025, I filed the foregoing document with the Court and

served it on opposing counsel through the Court’s CM/ECF system. All counsel of record are

registered ECF users.


                                               Respectfully submitted,

                                               /s/ Mark C. Hansen
                                               Mark C. Hansen




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